Case: 1:17-md-02804-DAP Doc #: 70 Filed: 01/11/18 1 of 2. PageID #: 457




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION           )             MDL No. 2804
OPIATE LITIGATION                      )
                                       )             Case No. 17-md-2804
THIS DOCUMENT RELATES TO:              )
                                       )             Judge Dan Aaron Polster
ALL CASES                              )
                                       )             MINUTES OF INITIAL PRETRIAL
_______________________________________)             CONFERENCE - 1/9/2018


       The Court held an Initial Pretrial Conference with Counsel on January 9, 2018, at which

time the Court solicited and obtained the consensus of Counsel to focus everyone’s present

efforts on abatement and remediation of the opioid crisis rather than pointing fingers and

litigating legal issues. Counsel thought it would be beneficial to select a day for an information

session to educate the Court and each other on supply-chain dynamics and other issues relevant

to resolving this MDL, and to further pursue settlement discussions. The Court has scheduled

that conference for 9:00 a.m. Eastern Time on Wednesday, January 31, 2018. The morning

will be devoted solely to an exchange of information, and the afternoon will be devoted to

preliminary settlement discussions.

       To that end, Plaintiffs’ Counsel agreed to bring to the conference a representative group

of approximately 6-7 Government Entity Plaintiffs, and a representative for the Hospitals and

Third-Party Payors. Defense Counsel agreed to bring a small number of senior executives from

both the Manufacturer Defendants and from the Distributor Defendants. The Court also directed

Defense Counsel to bring a representative group of Insurers to the conference. Finally, the Court

directed Attorney Tyler Tarney to bring Dr. Russell Portenoy to the conference.
Case: 1:17-md-02804-DAP Doc #: 70 Filed: 01/11/18 2 of 2. PageID #: 458




       Because this MDL addresses a nationwide crisis and resolution of the crisis involves

more than the parties and attorneys who are in this MDL, the Court volunteered to try to get an

experienced person with relevant knowledge from the FDA and from the DEA to attend the

conference in person. This effort is underway. The Court also said that it would invite

representation from both State Attorney General groups, i.e., those who have filed cases in state

court and those who have not. These invitations have been extended.

       The Court expects Counsel to confer prior to the January 31 conference, agree on a

program for the morning session, and file a single proposed agenda no later than 12:00 p.m.

Eastern Time on January 26, 2018. Counsel shall also confer and be prepared to offer

suggestions on a schedule for regular meetings and a deadline for submitting proposed agenda

items. The Court also invited Counsel to exchange and submit to the Court any suggestions for

abating the opioid crisis.

       Due to the number of persons the Court expects to attend the January 31 conference, only

Leadership Counsel may attend.1 A transcript will be made of the information session and will

subsequently be made available to all Counsel.

       As Counsel are to focus their efforts on resolution, the Court hereby continues the

moratorium on all substantive filings.

       IT IS SO ORDERED.

                                              /s/ Dan A. Polster January 11, 2018
                                              Dan Aaron Polster
                                              United States District Judge



       1
        Plaintiffs’ Leadership Counsel includes Plaintiffs’ Liaison and Lead Counsel and the
Executive Committee. Defendants’ Leadership Counsel includes Manufacturer Defendants’
Liaison Counsel and Steering Committee, Distributor Defendants’ Liaison Counsel and Steering
Committee, and Physician Defendants’ Liaison Counsel and Steering Committee.

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